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  UNITED STATES DISTRICT COURT
  DISTRICT OF NEW JERSEY
   RIGOBERTO ANDUX MIRABAL, GABRIEL CANO
   ARANGO, YOAN AQUINO MARTINEZ, LUCAS                                19-CV-16608 (MCA)(ESK)
   PEDRONZO TOLEDO, JULIO CESAR OCHOA, NELSON
   BATISTA CORBO, WILLIAM RICARDO ANTUNEZ
   VALDEZ, and THE ESTATE OF CARLOS ALBERTO on
   behalf of themselves and all others similarly situated who
   were employed by Caribbean Car Wash, Inc.

                       Plaintiffs,

                  - against -

   CARIBBEAN CAR WASH, INC., ULPIANO RODRIGUEZ,
   ROBERTO RODRIGUEZ, and OMAR RODRIGUEZ,
                             Defendants.

  ORDER GRANTING FINAL APPROVAL OF CLASS AND COLLECTIVE SETTLEMENT

         AND NOW, on this 14th day of January, 2022, upon consideration of Plaintiffs’
unopposed motion for final approval of the class and collective action settlement, and the
parties having consented to a magistrate judge conducting all proceedings in this matter (ECF
No. 69), and upon arguments heard on the record at the January 13, 2022 Final Approval
Hearing, and defendants consenting to the entry of this order, and no objection having been filed
by any member of the class, and for the reasons set forth on the record, the Court:

1. Finds the Settlement Agreement is a fair and reasonable compromise of disputed claims. The

   Settlement Agreement is granted final approval by this Court. All class members who did not opt

   out are subject to the release of claims set forth therein;

2. Finds that the form and content of the notice and the notice procedure satisfied the

   requirements of Federal Rule of Civil Procedure 23(c)(2)(B) and adequately put class

   members on notice of the proposed settlement;

3. Orders Defendants to pay the Administrator One Million Dollars ($1,000,000) as full

   payment of the Settlement Fund and Seven Thousand Five Hundred Dollars ($7,500) as full

   payment of the Payroll Taxes Fund within five (5) days following the Final Effective Date of
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    the Settlement (all terms as defined in the Joint Stipulation of Settlement and

    Release, ECF Doc. No. 59 (the “Settlement Agreement”));

 4. Orders the Administrator to distribute the Settlement Fund pursuant to the Settlement

    Agreement;

 5. Grants Class Counsel’s request for reasonable attorneys’ fees in the amount of

    $333,333.33, representing 33 1/3% of the Settlement Fund;

 6. Grants Class Counsel’s request for reimbursement from the Settlement Fund of their out-

    of-pocket litigation costs, totaling $6,823.69; and

 7. Grants the Administrator its reasonable fees and costs incurred in administering the

    settlement to be paid from the Settlement Fund.

 8. The Court retains exclusive and continuing jurisdiction over any disputes pertaining to the

    enforcement of the Settlement Agreement.

 9. The Clerk is directed to terminate ECF No. 68 and to designate the case as CLOSED.




    It is so ORDERED this 14th day of January, 2022.



                                           /s/ Edward S. Kiel
                                          __________________________________________
                                          Hon. Edward S. Kiel, U.S.M.J.
